8:03-cr-00223-JFB-SMB           Doc # 190         Filed: 08/10/09    Page 1 of 4 - Page ID # 542


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                        Case Number 8:03cr223-005

                                                          USM Number 18677-047

YVONNE SMITH
                       Defendant
                                                          BRANDIE M. FOWLER
                                                          Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition 3, special conditions 4 and 6 of
the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                            Date Violations
   Violation Number                   Nature of Violation                     Concluded


            1             Failure to follow officer’s instruction                Ongoing

            2             Failure to complete community service                  Ongoing

            3             Failure to pay restitution                             Ongoing

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such
Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                      August 3, 2009

                                                                              s/ Joseph F. Bataillon
                                                                        United States District Judge

                                                                                    August 10, 2009
8:03-cr-00223-JFB-SMB            Doc # 190      Filed: 08/10/09   Page 2 of 4 - Page ID # 543


Defendant: YVONNE SMITH                                                                   Page 2 of 4
Case Number: 8:03cr223-005


                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twelve (12) months and one (1) day.

The Court makes the following recommendations to the Bureau of Prisons:

1.       Defendant shall be given credit for time served.

         (X) The defendant is remanded to the custody of the United States Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                             _____________________________
                                                                     Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                     By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                          CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                     By:__________________________________
8:03-cr-00223-JFB-SMB              Doc # 190       Filed: 08/10/09        Page 3 of 4 - Page ID # 544
Defendant: YVONNE SMITH                                                                     Page 3 of 4 Pages
Case No.: 8:03CR223

                                 SUPERVISED RELEASE

No term of supervised release is imposed.


                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                         Total Fine                       Total Restitution
           $100.00 PAID                                                              $15,962.59

         The Court has determined that the defendant does not have the ability to pay interest and
it is ordered that:

                                                   FINE

          No fine imposed.

                                             RESTITUTION

      Restitution in the amount of $15,962.59 is hereby ordered. A balance of $15,177.73
remains due and payable. The defendant shall make restitution to the following payee in the
amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.

                                              **Total Amount                        Amount of
           Name of Payee                          of Loss                       Restitution Ordered

 1st National Bank-Omaha                         $15,962.59                          $15,962.59

 Totals                                          $15,962.59                          $15,962.59


          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
8:03-cr-00223-JFB-SMB                Doc # 190          Filed: 08/10/09         Page 4 of 4 - Page ID # 545
Defendant: YVONNE SMITH                                                                             Page 4 of 4 Pages
Case No.: 8:03CR223

                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties shall be due
as follows:

         The special assessment in the amount of $100.00 has been paid in full.

Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in the amount of $15,962.59, jointly and severally with co-
defendants, to the Clerk of the United States District Court for the District of Nebraska, Omaha,
Nebraska. This amount is due immediately and payable in installments of $20.00 a month or 5% of
gross income, whichever is greater. Restitution is hereby ordered jointly and severally with: Co-
defendants Adam Burns, Dale Carter, Cheryl Cavitt and Zacari D. Harris .

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes
a period of imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless otherwise directed
by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111 S. 18th
Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances affecting
the ability to make monthly installments, or increase the monthly payment amount, as ordered by the court.
In the event a defendant is able to make a full or substantial payment toward the remaining criminal monetary
penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary to liquidate
and apply the proceeds of such property as full or partial payment of the criminal monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost
of prosecution and court costs.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
